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                                        United States District Court
                                         DISTRICT OF MONTANA BILLINGS DIVISION


 UNITED STATES OF AMERICA                                                            AMENDED JUDGMENT IN A CRIMINAL CASE


                                                                                     Case Number: CR 19-154-BLG-SPW-2


 TIMILYNN K. KISLING                                                                 USM Number: 17899-046
 Date of Original Judgment or Last Amended Judgment:                                 Vernon E. Woodward
 8/14/2020
 Reason for Amendment:                                                               Defendant's Attorney

  □    Correction of sentence on remand (18 U.S.C. 3742(f)(1) and (2))          13   Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or
                                                                                     3583(e))
  □    Reduction of Sentence for Changed Circumstances                          □    Modification of Imposed Term of Imprisonment for Extraordinary and
       (Fed.R.Crim.P.35(b))                                                          Compelling Reasons (18 U.S.C. § 3582(c)(1))
 □     Correction of Sentence by Sentencing Court (Fed.R.Crim.P.36)             □    Modification of Imposed Term of Imprisonment for Retroactive
                                                                                     Amendment(s) top the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
 □     Correction of Sentence for Clerical Mistake (Fed.R.Crim.P.36)            □    Direct Motion to District Court Pursuant   □    28 U.S.C. § 2255 or
                                                                                           □     18 U.S.C. § 3559(c)(7)
                                                                                □    Modification of Restitution Order (18 U.S.C. § 3664)

THE DEFENDANT:
  13   pleaded guilty to counts                                  1 and 2 of the Information, filed December 12,2019
       pleaded nolo contendere to count(s) which was
  □
       accepted by the court
       was found guilty on count(s) after a plea of not
  □
       guilty

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                                         Offense Ended              Count
 26:7201 .F= Tax Evasion                                                                                         10/06/2016                 1
 26:7201 .F= Tax Evasion                                                                                         10/06/2016             2




The defendant is sentenced as provided in pages 2 through 13 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.



         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.                                                               D        t                     x\



                                                                         Signature of Judge

                                                                         Susan P. Walters. United States District Judge
                                                                         Name and Title of Judge

                                                                         October 19.2020
                                                                         Date
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